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     Attorney(s) for Display Technologies, LLC
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 7
                     IN THE UNITED STATES DISTRICT COURT
 8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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      DISPLAY TECHNOLOGIES, LLC,
                                                     CASE NO. 2:21-cv-09614
11                       Plaintiff,
                                                     PATENT CASE
12    v.
                                                     JURY TRIAL DEMANDED
13
      I-SENS USA, INC.,
14
                         Defendant.                  COMPLAINT
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           Plaintiff Display Technologies, LLC (“Plaintiff” and/or “Display”) files this
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     Complaint against i-SENS USA, Inc. (“Defendant” and/or “i-SENS”) for
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     infringement of United States Patent No. 9,300,723 (the “ ‘723 Patent”).
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                              PARTIES AND JURISDICTION
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           1.     This is an action for patent infringement under Title 35 of the United
22
     States Code. Plaintiff is seeking injunctive relief as well as damages.
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           2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
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     (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
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     infringement arising under the United States patent statutes.
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           3.     Plaintiff is a Texas limited liability company with an address of 1 East
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     Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
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 1          4.     On information and belief, Defendant is a California corporation with a
 2   principal place of business at 2461 W. 205th St., Ste B102, Torrance, CA 90501. On
 3   information and belief, Defendant may be served through its agent, Jeonghan Ha, at
 4   the same address.
 5          5.     This Court has personal jurisdiction over Defendant because Defendant
 6   has committed, and continues to commit, acts of infringement in this District, has
 7   conducted business in this District, and/or has engaged in continuous and systematic
 8   activities in this District.
 9          6.     Upon information and belief, Defendant’s instrumentalities that are
10   alleged herein to infringe were and continue to be used, imported, offered for sale,
11   and/or sold in this District.
12                                             VENUE
13          7.     On information and belief, venue is proper in this District under 28
14   U.S.C. § 1400(b) because Defendant is a resident of this District. Alternatively, acts
15   of infringement are occurring in this District and Defendant has a regular and
16   established place of business in this District.
17                                            COUNT I
18         (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)
19          8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.
20          9.     This cause of action arises under the patent laws of the United States
21   and, in particular, under 35 U.S.C. §§ 271, et seq.
22          10.    Plaintiff is the owner by assignment of the ‘723 Patent with sole rights
23   to enforce the ‘723 Patent and sue infringers.
24          11.    A copy of the ‘723 Patent, titled “Enabling social interactive wireless
25   communications,” is attached hereto as Exhibit A.
26          12.    The ‘723 Patent is valid, enforceable, and was duly issued in full
27   compliance with Title 35 of the United States Code.
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 1         13.    Defendant has infringed and continues to infringe one or more claims,
 2   including at least Claim 1 of the ‘723 Patent by making, using, and/or selling media
 3   systems covered by one or more claims of the ‘723 Patent. For example, Defendant
 4   makes, uses, and/or sells the SmartLog diabetes app, CareSens Dual Blood Glucose
 5   Monitor, associated software, hardware and/or apps, and any similar products
 6   (“Product”). Defendant has infringed and continues to infringe the ‘723 Patent in
 7   violation of 35 U.S.C. § 271.
 8         14.    Regarding Claim 1, the Product is a media system. The Product includes
 9   a media system (e.g., health app) configured to allow a user to view a media file (e.g.,
10   health data) from a medical device by a media terminal (e.g., smartphone) from a
11   media node (e.g., medical device) over a communication network (e.g., Bluetooth
12   network) through a communication link. Certain aspects of this element are illustrated
13   in the screenshots below and/or those provided in connection with other allegations
14   herein.
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17         15.   The Product includes at least one media terminal disposed in an
18   accessible relation to at least one interactive computer network. For example, the
19   Bluetooth network is used for sending health data from a media node (medical device)
20   by detecting a smartphone (at least one media terminal) when the Product’s app is
21   installed on the smartphone and connected with the Product’s media node through a
22   Bluetooth network (i.e., the smartphone is in an accessible relationship with the
23   interactive computer network). Certain aspects of this element are illustrated in the
24   screenshots below and/or in those provided in connection with other allegations
25   herein.
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           16.   A wireless range is structured to permit authorized access to the at least
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     one interactive computer network. For example, the Bluetooth signals of the Product’s
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     medical device (media node) have a range within which the smartphone (media
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     terminal) may connect.
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17         17.   At least one media node is disposable within the wireless range, wherein
18   the at least one media node is detectable by the at least one media terminal. For
19   example, the Product’s medical device (media node) is detectable by the media
20   terminal (smartphone). Certain aspects of this element are illustrated in the
21   screenshots below and/or those provided in connection with other allegations herein.
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           18.    At least one digital media file is initially disposed on at least one of the
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     at least one media terminal or the at least one media node and the at least one media
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     terminal is structured to detect the at least one media node disposed within the
19
     wireless range. For example, the health data is initially disposed on the media node
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     (medical device/monitor) and the media terminal can detect the medical device when
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     it is within the appropriate range. Certain aspects of this element are illustrated in the
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     screenshots below and/or those provided in connection with other allegations herein.
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16         19.   A communication link is structured to dispose the at least one media
17   terminal and the at least one media node in a communicative relation with one another
18   via the at least one interactive computer network. For example, the smartphone and
19   medical device are in a communicative relation over the Bluetooth network.
20         20.   The communication link is initiated by the at least one media terminal.
21   For example, when the user turns on Bluetooth on the smartphone (media terminal),
22   the smartphone initiates the communication link.
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           21.    The at least one media node and the at least one media terminal are
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     structured to transmit the at least one digital media file therebetween via the
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     communication link. For example, the smartphone/app and the medical device are
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     structured to transmit health data from the device to the smartphone over the wireless
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     network.
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 16         22.    The communication link is structured to bypass at least one media
 17   terminal security measure for a limited permissible use of the communication link by
 18   the media node to only transferring the at least one digital media file to, and displaying
 19   the at least one digital media file on, the at least one media terminal. For example, the
 20   communication link is structured so that whenever the user installs the Product’s app
 21   on the smartphone (media terminal), the smartphone automatically connects
 22   (bypassing any security measures) with the Product’s medical device through
 23   Bluetooth code (i.e., media terminal security) whenever the smartphone comes to the
 24   range of the Bluetooth signals (for the limited purpose of transferring data form the
 25   device to the smartphone).
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            23.   Defendant’s actions complained of herein will continue unless
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      Defendant is enjoined by this court.
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            24.   Defendant’s actions complained of herein are causing irreparable harm
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      and monetary damage to Plaintiff and will continue to do so unless and until
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      Defendant is enjoined and restrained by this Court.
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  1         25.    Plaintiff is in compliance with 35 U.S.C. § 287.
  2                                       JURY DEMAND
  3         26.    Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff
  4   respectfully requests a trial by jury on all issues so triable.
  5                                   PRAYER FOR RELIEF
  6         WHEREFORE, Plaintiff asks the Court to:
  7         (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
  8   asserted herein;
  9         (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
 10   employees, attorneys, and all persons in active concert or participation with Defendant
 11   who receive notice of the order from further infringement of United States Patent No.
 12   9,300,723 (or, in the alternative, awarding Plaintiff running royalties from the time of
 13   judgment going forward);
 14         (c)    Award Plaintiff damages resulting from Defendant’s infringement in
 15   accordance with 35 U.S.C. § 284;
 16         (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
 17         (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
 18   entitled under law or equity.
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 20   Dated: December 12, 2021                 Respectfully submitted,
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                                               /s/ Stephen M. Lobbin
 22                                            Stephen M. Lobbin
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                                               Attorney(s) for Plaintiff
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